      Case: 4:22-cv-00062-SA-JMV Doc #: 193 Filed: 05/09/24 1 of 2 PageID #: 3232




                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                             GREENVILLE DIVISION


DYAMONE WHITE; DERRICK
SIMMONS; TY PINKINS;
CONSTANCE OLIVIA SLAUGHTER
HARVEY-BURWELL                                                                PLAINTIFFS

VS.                                          CIVIL ACTION NO. 4:22-CV-00062-SA-JMV
STATE BOARD OF ELECTION
COMMISSIONERS; TATE REEVES in
his official capacity as Governor of
Mississippi; LYNN FITCH in her official
capacity as Attorney General of
Mississippi; MICHAEL WATSON in his
official capacity as Secretary of State of                                  DEFENDANTS
Mississippi



                                ENTRY OF APPEARANCE


        Please take notice that Victoria Ochoa of American Civil Liberties Union Foundation,

hereby enters her appearance as additional counsel of record for Plaintiffs, DYAMONE WHITE;

DERRICK      SIMMONS;      TY    PINKINS;    and   CONSTANCE       OLIVIA     SLAUGHTER

HARVEY-BURWELL.


        RESPECTFULLY SUBMITTED, this the 9th day of May, 2024.

                            DYAMONE WHITE; DERRICK SMMONS; TY PINKINS;
                            CONSTANCE OLIVIA SLAUGHTER HARVEY-BURWELL.
                            PLAINTIFFS

                            BY: /s/ Victoria Ochoa
                            VICTORIA OCHOA, ESQ.




                                             1
   Case: 4:22-cv-00062-SA-JMV Doc #: 193 Filed: 05/09/24 2 of 2 PageID #: 3233




                        CERTIFICATE OF SERVICE

I, Victoria Ochoa, hereby certify that on May 9, 2024, I electronically filed the
foregoing with the Clerk of the Court using the ECF system which sent notification
of such filing to all parties on file with the Court.



                                  /s/ Victoria Ochoa
                                  Victoria Ochoa
                                  American Civil Liberties Union Foundation
                                  125 Broad Street, 18th Floor
                                  New York, NY 10004
                                  (956) 212-2250
                                  vochoa@aclu.org




                                        2
